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                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                        STATESBORO DIVISION
ALMONTA MONTEZ MOORE,                )



                                     )



      Movant,                        )



                                     )




                                     )
                                                 CV616-164
                                     )
                                                 CR615-OO1
UNITED STATES OF AMERICA,            )



                                     )



      Respondent.                    )




                    REPORT AND RECOMMENDATION

      Guilty-plea convicted of two counts of use of a communication

facility (mobile phone) in violation of 21 U.S.C. §§ 841(a)(1), b)(1)(B),

Almonta Moore seeks 28 U.S.C. § 2255 relief. Doc. 347;' see also does. 3

(indictment); 278 (plea agreement); 314 (judgment ordering 92 months'

imprisonment). The Government opposes.

I. BACKGROUND

      Moore was indicted for conspiring to possess with intent to

distribute and to distribute 500 grams or more of cocaine, and for two

counts of use of a communication facility in furtherance of the

conspiracy. Doc. 3. Upon the advice of counsel, movant pled guilty to


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 The Court is citing to the criminal docket in CR615-001 unless otherwise noted,
and all page numbers are those imprinted by the Court's docketing software.
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both counts of use of a communication facility (mobile phone), which

carried a maximum penalty of 48 months' confinement for each count.

Doe. 278; see also Presentence Investigative Report (PSR) at 167.

     In pleading guilty, Moore admitted that he knowingly and

intentionally used a communication facility while committing or helping

commit the crime of conspiracy to distribute a controlled substance.

Doe. 278 (plea agreement); doe. 354 (Rule 11 plea hearing) at 10, 12-13,

19. He also waived his right to directly appeal or collaterally attack his

conviction and sentence, excepting circumstances not relevant here.

Doe. 278 at 4; doe. 354 at 16-18. The Court found movant's plea to be

intelligently, knowingly, and voluntarily made, Moore affirmed it was

so, and the Court accepted his guilty plea. Id. at 19-20.

     At sentencing, counsel objected to PSR's description of the amount

of cocaine at issue, Moore's role in the enterprise, and the

recommendation to deny him a 3-level reduction for an acceptance of

responsibility. Doe. 351 at 2-6. After argument and testimony by the

Government's witness, the Court overruled the first two objections. The

Court found that the evidence demonstrated both that Moore had

purchased approximately 11 and a half ounces of powder cocaine and 5

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ounces of crack cocaine over the course of 26 recorded phone calls, and

that he was not a minimal participant (and thus not entitled to the

four-level decrease set forth in U.S.S.G. 3B1.2). Id. at 10-21. The Court

also found, however, that Moore was entitled to a 3-point reduction

based on acceptance of responsibility -- his early entry of a guilty plea.

Id. at 21. Because of his lengthy, "ambitious" criminal history, movant's

total offense level was set at 23 with a criminal history category of VT,

fetching an advisory guideline range of 92-115 months' imprisonment.

Id. at 21-22; see PSR at ¶ 18, 28-40, 67-68.

     Pursuant to the negotiated plea agreement, however, the

maximum penalty and guideline range of punishment was capped at 96

months' incarceration.    See doe. 351 at 22; see Id. at 25 (reminding

Moore that his "lawyer did a very good job in negotiating a plea for you

that would cap your possible sentence at 96 months. Had she not done

that, then just today you would be facing 150 months."). Based on

counsel's argument that Moore would voluntarily commit to drug

treatment while incarcerated and would have a strong support network

upon release, militating against reoffending, the Court sentenced Moore

at the low end of the guidelines: 92 months' imprisonment.       Id. at 25-

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II. ANALYSIS

       Moore presents three grounds for relief: (1) counsel was deficient

for failing to file a motion to suppress wiretap evidence, (2) the Court

erred by failing to address his objection to the PSR's description of his

role in the enterprise, and (3) counsel failed to bring his minimal role to

the Court's attention at sentencing. Doc. 347.

       Four sets of governing principles must be applied here. First,

Moore "bears the burden of establishing the need for § 2255 relief, as

well as that of showing the need for an evidentiary hearing."      Mike]] v.

United States, 2011 WL 830095 at * 2 (S.D. Ga. Jan. 26, 2011); see also

Williams v. Allen, 598 F.3d 778, 788 (11th Cir. 2010). He thus must

demonstrate that any claimed error constitutes "a fundamental defect

which inherently results in a complete miscarriage of justice."       United

States v. Addonizio, 442 U.S. 178, 185 (1979) (quotes and cite omitted).

       Second, any claims not raised on direct appeal are procedurally

defaulted, Lynn v. United States, 365 F.3d 1225, 1234 (11th Cir. 2004),




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though claims of ineffective assistance of counsel (IAC) 2 generally are

not. Massaro v. United States, 538 U.S. 500, 504 (2003). Third, "the

two-part Strickland v. Washington test applies to challenges to guilty

pleas based on ineffective assistance of counsel."         Hill v. Lockhart; 474

U.S. 52, 58 (1985); Lalani v. United States, 315 F. App'x 858, 860-61

(11th Cir. 2009).

      And fourth, a defendant who enters an unconditional plea of guilty

"may not thereafter raise independent claims relating to the

deprivation of constitutional rights that occurred prior to the entry of

the guilty plea."       Tollett v. Henderson, 411 U.S. 258, 267 (1973)

(emphasis added). That is, "[a] defendant's plea of guilty, made

knowingly, voluntarily, and with the benefit of competent counsel,

waives all non-jurisdictional defects in that defendant's court

proceedings."    United States v. Pierre, 120 F.3d 1153, 1155 (11th Cir.

1997); see also United States v. Patti, 337 F.3d 1317, 1320 (11th Cir.



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  In Strickland v. Washington, 466 U.S. 668, 687 (1984), the Supreme Court created
a two-part test for determining whether counsel's assistance was ineffective. First,
the movant must demonstrate that his attorney's performance was deficient, which
requires a showing that "counsel made errors so serious that counsel was not
functioning as the 'counsel' guaranteed by the Sixth Amendment." Id. Second, he
must demonstrate that the defective performance prejudiced the defense to such a
degree that the results of the trial cannot be trusted. Id.
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2003). The bar applies both on appeal and on collateral attack.          See

United States v. Broce, 488 U.S. 563, 569 (1989). "A defendant who

wishes to preserve appellate review of a non-jurisdictional defect while

at the same time pleading guilty can do so only by entering a

'conditional guilty plea' in accordance with Federal Rule of Criminal

Procedure 11(a)(2)." Pierre, 120 F.3c1 at 1155.

     Defendants who have entered an unconditional guilty plea,

therefore, may challenge their pre-plea constitutional claims only by

showing that the advice they received from counsel undermined "the

voluntary and intelligent character of the plea."    Tollett, 411 U.S. at

267. This includes

  defects in the procedure by which the plea was received or
  circumstances which make the plea other than voluntary,
  knowing and intelligent. It also includes cases where the guilty
  plea was induced through threats, misrepresentations, or
  improper promises, such that the defendant cannot be said to have
  been fully apprised of the consequences of the guilty plea..

Mikell, 2011 WL 830095 at *2 (cites and quotes omitted). Otherwise, all

substantive claims that could have been raised before the plea, such as

suppression-based claims, are waived.     Franklin v. United States, 589

F.2d 192 9 194-95 (5th Cir. 1979) ("By entering a knowing, voluntary,

intelligent guilty plea on the advice of competent counsel, [petitioner]
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has waived all nonjurisdictional complaints . . . [such as] claims

regarding Miranda warnings, coerced confessions, perjury and illegal

searches and seizures. . . ."); Washington v. United States, 2010 WL

3338867 at * 15 (S.D. Ala. Aug. 5, 2010) (collecting Eleventh Circuit

cases denying habeas relief on suppression-based IAC claims and

concluding that, "[b]ecause all of Washington's asserted claims of

ineffective assistance of counsel relate to the suppression issue, the

denial of which has been waived . . . they have been waived by

petitioner's entry of a knowing and voluntary plea. . .

     A. Pre-Plea Claim

     Moore, who pled guilty unconditionally, cites no legally

recognizable involuntariness grounds (e.g., that he was threatened or

misled by his lawyer, the judge, etc.) that would undermine his guilty

plea. Movant contends instead that counsel failed to move to suppress

the evidence gained from wiretapping his co-conspirators' mobile phone,

26 conversations of which formed the basis of the charges against him.

See doc. 347.

     Of course, that simply ignores the fact that by "entering into the

negotiated plea agreement, [movant] was telling his lawyer not to

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conduct any further investigation and not present at a trial proceeding

any legal defenses that he may be entitled to as it relates to his case."

Glaubman v. United States, 2009 WL 2970495 at * 20 (S.D. Fla. Sep.16,

2009); see also Haring v. Prosise, 462 U.S. 306, 321 (1983) ("[A]

counseled plea of guilty is an admission of factual guilt so reliable that,

where voluntary and intelligent, it quite validly removes the issue of

factual guilt from the case."). Accordingly, Moore cannot litigate any

pre-plea, factual-innocence claim masquerading as an ineffective

assistance of counsel (IAC) claim, since he gave up that right in return

for the government's agreement to drop the remaining counts against

him. See Mikell, 2011 WL 830095 at *3 At most he can attack his

guilty plea by showing that the advice counsel gave him undermined

"the voluntary and intelligent character of [his] plea."   Tollett, 411 U.S.

at 267; Hill v. Lockhart, 474 U.S. 52, 59 (1985).

     Movant has failed to do that. He swore under oath that no one,

including his attorney, had made him any promises not contained in

that agreement. Doc. 354 at 5 & 15. He also swore that he fully

understood the rights he was giving up by entering a guilty plea and the

possible sentence he faced, and that he was fully satisfied with counsel's

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performance. Id. at 9-10. Though he may have harbored doubts about

just how much the Government could actually prove against him, his

solemn declarations before the Court carry a presumption of verity and

rightly constitute a formidable barrier for him to overcome in these

collateral proceedings.   Id. at 10 (affirming he understood that the

Government bore the burden of proof at trial and he would plead guilty,

though he had the right to "go to trial just to see whether they had

enough proof."); see Blackledge, 431 U.S. at 74; Rasco v. United States,

2014 WL 10754131 at * 1-2 (S.D. Ga. Sept. 3, 2014) (Rasco's guilty-plea

transcript "negates [his] claim that counsel 'coerced' him and 'altered'

the plea agreement that he signed."). Moore falls far short of

overcoming that barrier. In fact, his only showing here is buyer's

remorse: that he believes that if only counsel had worked harder, things

would be different.

     A " 2255 action is not designed to account for buyer's remorse.

But that is all that is at issue here." Falgout v. United States, 2013 WL

3712336 at * 6 (N.D. Ala. July 12, 2013); Nelson v. United States, 2015

WL 4756975 at * 1 (S.D. Ga. Aug. 11, 2015) ("Nelson has wasted this

Court's time with a 'buyer's remorse' filing. He chose to plead guilty

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with full knowledge of the consequences. Now he must live with those

consequences.").

     B. Plea Proceeding and Sentencing Claims

     Sentencing-based claims, in contrast, face different standards

because they are not "pre-plea." See, e.g., Hudson v. United States, 727

F. Supp. 2d. 1376, 1381 (S.D. Fla. 2010). Moore faults his counsel for

failing to renew her objections to his "minimal role" in the conspiracy at

sentencing, and argues the district court erred by failing to address his

objection and grant a 4-level minimal role sentence reduction. Doc. 347

at 4-5. Movant's claim, however, is barred by the collateral attack

waiver in his plea agreement, not cognizable on habeas review, and

blatantly contradicted by the record.

     Moore's plea agreement waived his right to both a direct appeal

and a collateral attack of his conviction and sentence.   See doc. 278 at 1-

4; doe. 354 at 17-18 (affirming he understood the appellate rights he

was waiving by entering a guilty plea). Movant's role reduction claim is

barred by that waiver.    United States v. Cruz, 300 F. App'x 686, 688

(11th Cir. 2008) (waiver covers claims of Sentencing Guidelines error);

Brown v. United States, 256 F. App'x 258 (11th Cir. 2007) (waiver

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covers sentencing errors). It is also not a constitutional or jurisdictional

claim, or an error so fundamental as to constitute a "complete

miscarriage of justice" cognizable on § 2255 review. Spencer v. United

States, 773 F.3d 1132, 1140 (11th Cir. 2014) ("Any miscalculation of the

guideline range cannot be a complete miscarriage of justice because the

guidelines are advisory.").

       Finally, contrary to Moore's contention, 3 the record

unambiguously demonstrates that at sentencing his lawyer did raise --

and the Court explicitly ruled upon -- Moore's objection to his role in the

offense. Doc. 351 at 5, 9-21. The Court considered that argument, as

well as the Government's evidence of Moore's role both in the overall

conspiracy and in his own distribution network, before determining

(based on the undisputed facts and evidence) that a 92-month sentence

was appropriate.          Id. at 19, 21; see generally U.S.S.G. § 3131.2,



    Moore is reminded that those who lie to this Court are prosecuted. Hendrix v.
United States, 2014 WL 4204927 at 1, n. 4 (S.D. Ga. Aug. 25, 2014). Lying under
oath, either live or "on paper," is illegal. See United States v. Roberts, 308 F.3d 1147,
1155 (11th Cir. 2002); United States v. Dickerson, No. CR608-36, doe. 1 (S.D. Ga. Dec.
11, 2008) (§ 2255 movant indicted for perjury for knowingly lying in his motion
seeking collateral relief from his conviction); id., doe. 47 (guilty verdict), cited in Irick
v. United States, 2009 WL 2992562 at * 2 (S.D. Ga. Sept. 17, 2009 (unpublished); see
also Colony Ins. Co. v. 9400 Abercorn, LLC, 866 F. Supp. 2d 1376, 1378 n. 2 (S.D. Ga.
2012).
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comment. (n.3(A)) (minimal role reduction appropriate where a

defendant played a "substantially less culpable role" than the average

participant in the offense), id. at App. C, Amendment 794 (November 1,

2015) (providing further guidance on the mitigating role adjustment);

United States v. Rodriguez de Varon, 175 F.3d 930, 939, 944 (11th Cir.

1999) (the court must consider the defendant's role in the relevant

conduct for which he has been held accountable at sentencing; even if

he is among the least culpable in a conspiracy, he is not automatically

entitled to a minor role reduction). Counsel was not deficient for failing

to beat a dead horse sufficient to movant's liking.   See Jones v. Barnes,

463 U.S. 745 9 751 (1983) (there is no "constitutional right to compel

appointed counsel to press nonfrivolous points").

     More importantly, and as this Court has repeatedly reminded

movant, counsel's performance resulted in a 92-month sentence -- at the

low end of the sentencing guidelines and decades shy of the potential

40-year sentence he could have received if convicted on all counts in the

indictment. See doc. 351 at 21-27; PSR at ¶ 69. Though he may not

have appreciated fully counsel's effective advocacy at the time, Moore

actually received the full benefit of counsel's expertise in getting a

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bottom-end sentence. His claim that counsel was deficient is plainly

without merit.

C. CONCLUSION

      Accordingly, Almonta Moore's § 2255 motion should be DENIED. 4

For the reasons set forth above, it is plain that he raises no substantial

claim of deprivation of a constitutional right. Accordingly, no certificate

of appealability should issue. 28 U.S.C. § 2253; Fed. R. App. P. 22(b);

Rule 11(a) of the Rules Governing Habeas Corpus Cases Under 28

U.S.C. § 2255 ("The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.").

Any motion for leave to appeal in forma pauperis therefore is moot.

      This Report and Recommendation (R&R) is submitted to the

district judge assigned to this action, pursuant to 28 U.S.C.

§ 636(b)(1)(B) and this Court's Local Rule 72.3. Within 14 days of



'    Because his motion is entirely without merit and his contentions are
unambiguously contradicted by the record, an evidentiary hearing is not warranted.
Winthrop-Redin v. United States, 767 F.3d 1210, 1216 (11th Cir. 2014) (a hearing is
unnecessary "if the allegations are 'patently frivolous,' 'based upon unsupported
generalizations,' or 'affirmatively contradicted by the record."); Holmes v. United
States, 876 F.2d 1545, 1553 (11th Cir. 1989) (same); Lynn, 365 F.3d at 1239 (where
the motion "amount[ed] to nothing more than mere conclusory allegations, the
district court was not required to hold an evidentiary hearing on the issues and
correctly denied [movant]'s § 2255 motion.").
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service, any party may file written objections to this R&R with the

Court and serve a copy on all parties. The document should be

captioned "Objections to Magistrate Judge's Report and

Recommendations." Any request for additional time to file objections

should be filed with the Clerk for consideration by the assigned district

judge.

     After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge's findings and

recommendations pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonett v. VA. Leasing Corp.,

648 F. App'x 787, 790 (11th Cir. 2016); Mitchell v. U.S., 612 F. App'x

542, 545 (11th Cir. 2015).

     SO REPORTED AND RECOMMENDED, this 24th day of

February, 2017.



                                    lJNrrED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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